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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



FEDERAL TRADE COMMISSION,

                       Plaintiff,

v.                                               No. 18 Civ. 3309 PJM

ECOLOGICAL FOX, LLC et al.,

                       Defendants.



  DEFENDANT ANDRIS PUKKE’S EMERGENCY MOTION TO STRIKE THE
  TEMPORARY RECEIVER’S FEBRUARY 22, 2019 REPORT (ECF NO. 219)
    FROM THE DOCKET SHEET AND RELATED REQUESTED RELIEF

       Defendant Andris Pukke, by undersigned counsel, submits this Emergency Motion to

Strike the Temporary Receiver’s February 22, 2019 Report (“Report”) (ECF No. 219) from the

dDocket Sheet, and Other Related Relief (“Emergency Motion”), and requests to be heard as soon

on this Emergency Motion as possible. The Report of the Temporary Receiver Robb Evans &

Associates LLC (“Receiver”) contains many unauthorized and highly prejudicial statements which

should not be part of the public record. The Report is much more than an audit or accounting of

the Receiver’s financial activities as mandated by Section XVII of the court’s Temporary

Restraining Order and Interim Preliminary Injunction (“PI Order”). Rather, the Report is a highly

prejudicial advocacy pierce, which might well have been written by the Federal Trade Commission

(“FTC”). However, unlike the FTC’s case, Mr. Pukke will at no point likely be permitted to cross

exam the Receiver on its Report or the conclusions the Receiver reached about key and unproven

and disputed facts in the FTC’s Amended Complaint. The Receiver has intruded upon the province
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of the fact finder by stating factual determinations that are irrelevant to its duties, and which are

highly prejudicial to Mr. Pukke.

       For this reason, Mr. Pukke asks that (i) the Receiver’s report be immediately removed from

the court’s docket sheet, (ii) the Receiver, the FTC and any other person or entity be ordered not

to make the Receiver’s report public, (iii) that no portion of the Report can be used in the litigation

as evidence to establish a fact that is disputed and in contention, (iv) that the Receiver submit a

revised Report which addresses only those issues directed by the Court’s PI Order, i.e., audit and

accounting matters, and that does not state conclusions about facts that are disputed in the

litigation, (v) that any such revised report be submitted to the court and the parties for review and

comment before being made public, and (vi) that any future report be so previewed before being

made public. In addition, if the Receiver has provided the report to any person or entity, it should

be ordered to provide any such recipients a copy of the court’s order granting Mr. Pukke’s

requested emergency relief.

                               THE RECEIVER’S MANDATE

       The Court PI Order states that “The Receiver shall be solely the agent of this Court in

acting as Receiver under this Order.” PI Order, Section XV. Section XVI or the PI Order states the

“duties and Authority of Receiver.” And Section XVII describes the contents of the Receiver’s

Report, stating, in full, as follows: “IT IS FURTHER ORDERED that the Temporary Receiver

shall report to this Court at least one day before the date set for the hearing regarding Preliminary

Injunction, regarding: (1) the steps taken by the Temporary Receiver to implement the terms of

this Order; (2) the value of all liquidated and unliquidated Assets of the receivership estate; (3) the

sum of all liabilities of the Receivership Entities; (4) the steps the Temporary Receiver intends to

take in the future to: (a) prevent any diminutions in the value of Assets of the receivership estate;

(b) pursue receivership estate Assets from third parties; and (c) adjust the liabilities of the
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Receivership Entities, if appropriate; and (5) any other matters which the Temporary Receiver

believes should be brought to the court’s attention. Provided, however, if any of the required

information would hinder the Temporary Receiver’s ability to pursue receivership Assets, the

portions of the Temporary Receiver’s report containing such information may be redacted and be

filed for the Court’s benefit under seal without service on the parties.”

                                      RECEIVER’S REPORT

       Late in the afternoon on Friday, Feb. 22, 2019, the Receiver filed its first audit report for

the period Nov. 6, 2018 through February 21, 2019. The Receiver docketed its report so as to make

it public (ECF No. 219). The Report moves well beyond an audit of the businesses within the

receivership. It contains purported factual conclusions that are highly prejudicial, unproven by the

authorized fact finder in this case, and many of which are hotly debated. Instead of simply

conveying findings relating to an audit, the Report reads as if it were written as an advocacy piece

in support of many of the Federal Trade Commission’s positions in the case. And because the

report was authorized by the court’s PI Order, many members of the public, including the

community of lot owners at The Reserve who are following the case, may well take all views stated

within the report as fact, even those views that the parties dispute. This prejudices Mr. Pukke

immeasurably. Because the Report contains statements that are not authorized by the court’s PI

Order, Mr. Pukke ask that the report be removed from the docket sheet, and for other related relief.

               THE RECEIVER’S UNAUTHORIZED STATEMENTS OF FACT

       Given the audit-focused mandate of the Report, it is difficult to understand the relevance

of the following statements - - statements which are in contention in the litigation and for which

Mr. Pukke is unable to challenge the Receiver. By way of example, the Receiver has published to

the world the following assertions:



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    1. An evaluation of the veracity of Mr. Pukke and other defendants in the midst of

       the Receiver’s raid on a defendant business. Report, p. 3. Mr. Pukke submits

       that the Receiver is not the proper party to judge credibility; anyone might seem

       untruthful in the midst of a government raid, and any government staff in the

       midst of a raid is likely predisposed to find dissembling (the Report does not

       say which natural persons made the subjective statements in the Report, thereby

       insulating the Report from cross examination and hampering Mr. Pukke’s

       ability to investigate the truthfulness of the allegations made in the Report in

       aid of his defense).

    2. The Report states that “Pukke Exercised Total Control Over the Belize

       Development Project.” Report, pp. 3-5. This is a central and hotly contested fact

       issue in the case. It is unclear why the Receiver is weighting in on the issue with

       its opinion. In relation to audit and accounting matters the Receiver’s opinion

       is a non sequitur. And, of course, there is much evidence in the case refuting

       the Receiver’s determination, including the actual ownership structure of

       defendant companies, Mr. Pukke’s employment relationship, the division of

       duties and decision making with various defendant company, and the rampant

       infighting by and among defendants. The Receiver’s conclusion of not

       mandated, unauthorized, not subject to cross examination, and highly

       prejudicial.

    3. The Receiver states that “Pukke diverted at least $15.9 million on consumer

       payments.” Report, pp. 5-7. The Receiver’s conclusions cannot be cross

       examined for correctness or context. By way of example, certain funds were



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       investments that made profitable returns, others were loans that have been

       repaid.

    4. The Report states a review of what it calls “Broken Promises and Commitments

       to Consumers.” Receiver’s report, p. 7. This section parrots the FTC’s argument

       that certain amenities were “promised” to some unidentified and unknown

       number of lot purchasers at The Reserve. The Report mentions an international

       airport. It is unclear how the Receiver has made a factual conclusion that is

       contested in the case, save wholly accepting the FTC’s arguments. Nor is it

       clear what much of the section of this Report has to do with accounting. Also,

       in this section the Receiver argues that certain non-recourse loans, and/or

       certain loans not secured by The Reserve property in fact burdened the real

       estate with debt.

    5. The Report states that “The Reserves’ Financial Model is Not Viable.” report,

       p. 8. Again, the Receiver adopts the FTC’s view about what amenities are to be

       included in a completed Reserve development. From this mistake, the Receiver

       argues that there was not enough money for the developer to complete an

       international airport, an American style hospital, a championship golf course,

       among other items. As the court knows from reading Mr. Pukke’s court papers,

       Mr. Pukke disputes the fact that lot owners were promised an international

       airport, and certain other large amenities the Receiver describes.

    6. The Report states that there are “Misrepresentations and misleading statements

       to consumers contained in scripts at the Irvine Office.” Report at p. 10. Again,

       on this topic, the Report simply parrots the FTC’s views on a matter that seems

       wholly unrelated to audit or accounting. Whether or not misstatements were
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       made is an issue central in the case. Telephonic scripts reviewed by the Receiver

       are hearsay unless testified to in some manner. Of course, the Report is not

       subject to cross examination, and any reader unfamiliar with Section 5 of the

       FTC Act might logically conclude that Mr. Pukke made the alleged

       misrepresentations, which prejudices him in this matter.

    7. The Report states that “The Receivership entities resisted requests by lot buyers

       to cancel purchase contracts.” Report, p. 10. Any seller may try to keep her or

       his contract which is not necessary problematic as the FTC and now Receiver

       allege. But it must also be said the refunds were often given to unhappy

       customers. The FTC is also aware that when two of its young staff members

       posed as lot buyers and paid certain deposits, the monies were refunded in the

       ordinary course of the business. This sharply cuts against the FTC’s and the

       Receiver’s view of the world. But the Receiver cannot be cross examined.

       Further, this area seems far afield from audit duties of the Receiver.

    8. The Receiver opines on alleged statements about the increase in lot values,

       again citing paper scripts, and arguing that sales people promised accretion in

       lot values. Again, it is unclear why the Report needs to parrot the FTC’s view

       of the world on this point, or what it has to do with its Receiver’s audit function.

       And importantly, this issue is contested. By way of example, during his

       deposition on Feb. 19, 2019, Peter Baker testified that one early lot purchaser,

       Nancy McKenney, successfully re-sold one of her lots for a great profit. On

       February 19, 2019, he clarified his position under oath, testifying that early lot

       owners “made out like bandits” and that Ms. McKenney in particular, sold her

       lot for several times her initial purchase price and that she “more than doubled
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                   her money” and that another early investor named Taylor and other “People

                   who had lots in the beginning who sold out made a lot of money.” Ex. 1

                   (February 19, 2019 Deposition of Peter Baker), 342:23-344:23. Also, the only

                   current valuation of lots now in the case is from Prof. Eric Sussman of UCLA

                   who, in his preliminary expert report, values the lots at The Reserve at $800,000

                   per acre. This means that all lots have significantly increased in value. Again,

                   this point will be contested by the parties. The Receiver has no business

                   weighing in on this issue, as it is outside his audit mandate.

               9. The Receiver also provides its review of certain litigation files. Report, p. 15-

                   18. Working outside the audit function, the Receiver hedges, noting that their

                   review merely “suggests” certain conclusions (p. 15) and noting that there

                   “appears” to be a certain conclusion. This section has nothing to do with the

                   Receiver’s audit function, save implying that the developer was unethical.

                   Again, this is highly prejudicial and far afield from an audit function.

       As these examples demonstrate, the prejudicial statements run throughout the Receiver’s

report. The document should be withdrawn so as help insure the possibility of a fair PI hearing,

and further litigation of this matter. Specifically, Mr. Pukke asks for the following relief: (i) that

the Receiver’s report be immediately removed from the court’s docket sheet, (ii) the Receiver, the

FTC and any other person or entity be ordered not to make the Receiver’s report public, (iii) that

no portion of the report can be used in the litigation as evidence to establish a fact that is in

contention, (iv) that the Receiver submit a revised report which addresses only audit and

accounting matters, and that does not state conclusions about facts that are in contention in the

litigation, (v) that any such revised report be submitted to the court and the parties for review and

comment before being made public, (vi) that any future report be so previewed to the court before
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being made public, and (vii) that the Receiver send any court order granting, in whole or in part,

the relief requested above to any person or entity to whom the Receiver has previously sent its

Report, including any lot owners at The Reserve.

       A draft order for the court to consider is provided.

                                      CONCLUSION

       For the foregoing reasons, we respectfully submit that this Court should enter an order

removing the Receiver’s report from the court’s docket, and other related relief enumerated

above and contained in the draft order that accompanies this request for emergency relief.

                                                     Respectfully submitted,

                                                     PIERCE BAINBRIDGE BECK PRICE &
                                                     HECHT LLP

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I served the foregoing Motion, and related Proposed Order, on

the following people and entities by e-mail at the e-mail addresses listed:

   •   Jonathan Cohen, Ben Theisman, Amanda Kostner, and Khouryanna DiPrima, counsel for
       the Federal Trade Commission, at jcohen2@ftc.gov, btheisman@ftc.gov,
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                                                             _/s/ Jesse D. Stein______________
                                                             Jesse D. Stein




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